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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

www.flsb.uscourts.gov
In re:
HOLDWAVE TRADING LIMITED, Chapter 15
Case No.:
Debtor in a Foreign Proceeding.
/
RULE 7007.1 CORPORATE OWNERSHIP STATEMENT

Mr. Colin Diss, one of the joint liquidators (“Joint Liquidators” or “Foreign
Representatives”) of the creditors’ voluntary liquidation of Holdwave Trading Limited
(“Holdwave” or “Debtor”), provides the following information in conformity with Fed. R. Bankr.

P. 1007(a)(4) and 7007.1:

1. At the time Holdwave went into liquidation, its sole shareholder was Leslie

Scheltens, an individual.

2. As to the Joint Liquidators, the corporate ownership statement is inapplicable, as

they are individuals.

28 U.S.C. § 1746 VERIFICATION

I verify under penalty of perjury under the laws of the United States of America that the

foregoing Corporate Ownership Statement is true and correct.

Executed in Lon,» ited Kingdom on Me June, 2021

 
  
 

Colin Diss — as Joint Liquidator for Oceanroad Global
Services Limited in the UK Proceeding
Case 21-16139-LMI

Dated: June 14, 2021

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Respectfully submitted,

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